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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
AMERICAN EDUCATIONAL                             )
RESEARCH ASSOCIATION, INC. et al.,               )
                                                 )
              Plaintiffs,                        )
                                                 )
      v.                                         )       Case No. 14-cv-0857 (TSC)
                                                 )
PUBLIC.RESOURCE.ORG, INC.,                       )
                                                 )
              Defendant.                         )
                                                 )

                                             ORDER

       Upon consideration of the parties’ motions, and for the reasons set forth in the court’s

Memorandum Opinion, Plaintiffs’ motion is GRANTED IN PART and DENIED IN PART and

Defendant’s motion is DENIED.

       It is hereby ORDERED that Defendant is permanently enjoined from all unauthorized

use, including through reproduction, display, distribution, or creation of derivative works, of the

Standards for Educational and Psychological Testing, 1999 edition.

       Defendant is FURTHER ORDERED to remove all versions of this standard from its

website and any other website within its possession, custody, or control within five days.



Date: February 2, 2017


                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge
